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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

 United States of America,

            Plaintiff,
                                          Criminal No. 17-20595
       v.
                                          Hon. Marianne O. Battani

 Yousef Mohammad Ramadan,

           Defendant.
 ____________________________/

        GOVERNMENT’S COMBINED BRIEF AND MOTION
        REQUESTING NOTICE OF SUBPOENA REQUEST

       The United States asks this Court for notice and the opportunity

 to be heard should the defendant ask the Court to issue subpoenas /

 orders for information regarding witnesses in this case.

       On August 16, 2018, counsel for the defendant requested that the

 United States provide the cell phone numbers and names of the cell

 phone providers for federal agents Kelly, Brown, Thomas, Schmeltz,

 and Armentrout. The defendant wants this information in order to

 “subpoena the phone records, i.e., text messages” of the aforementioned

 agents. These agents are all witnesses in the current suppression

 hearing and potential witnesses in the defendant’s trial.

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       On August 20, 2018, the government declined the defendant’s

 request under Federal Rule of Evidence 17(h), which states that “No

 party may subpoena a statement of a witness or of a prospective

 witness under this rule. Rule 26.2 governs the production of the

 statement.” Rule 17(h) is clear that the information the defendant seeks

 is “Not Subject to a Subpoena.”

       Should the defendant ask the Court for a subpoena or order for

 this information, ex parte or otherwise, the United States respectfully

 requests that the Court provide notice of the request and allow

 attorneys for the government an opportunity to be heard on the matter.

                                    Respectfully submitted,

                                    Matthew Schneider
                                    United States Attorney

                                    s/Ronald W. Waterstreet
                                    Ronald W. Waterstreet
                                    Assistant United States Attorney
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                                    s/Michael C. Martin
                                    Michael C. Martin
                                    Assistant United States Attorney

                                    s/Hank Moon
                                    Hank Moon
                                    Assistant United States Attorney
 Dated: August 22, 2018

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                          Certificate of Service

     I hereby certify that on August 22, 2018, I electronically filed the

 Government’s Combined Brief and Motion Requesting Notice of

 Subpoena Request with the Clerk of the Court of the Eastern District of

 Michigan using the ECF system, which will send notification of such

 filing to counsel for the defendant, Yousef Mohammad Ramadan.




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